                                                            Case 22-01109-abl        Doc 24    Entered 10/10/22 14:50:02     Page 1 of 7



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                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                     UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                               DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                           Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                       Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
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                                                      13
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                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,                                       Adversary Case No.: 22-01109-abl
                                                      16                         Plaintiff,
                                                      17   v.
                                                      18   ANNE PANTELAS; OLIVER HEMMERS; and
                                                           INFINITY HEALTH SOLUTIONS LLC,
                                                      19
                                                                                 Defendants.
                                                      20

                                                      21                         DISCOVERY PLAN AND SCHEDULING ORDER
                                                      22            Plaintiff HASelect-Medical Receivables Litigation Finance Fund International SP
                                                      23   (“Plaintiff” or “HASelect”), by and through its counsel, Shea Larsen PC, and Defendants Anne
                                                      24   Pantelas (“Pantelas”), Oliver Hemmers (“Hemmers”), and Infinity Health Solutions LLC (“Infinity”
                                                      25   and collectively with Pantelas and Hemmers, “Defendants”), by and through its counsel, Lewis Roca
                                                      26   Rothgerber Christie LLP, hereby submits the following Joint Discovery Plan and Scheduling Order
                                                      27   for the Court’s review:
                                                      28   ///


                                                                                                     Page 1 of 4
                                                            Case 22-01109-abl          Doc 24    Entered 10/10/22 14:50:02         Page 2 of 7




                                                       1   1.      Discovery Plan:

                                                       2           _____ Request for waiver of requirement to prepare and file a formal discovery plan.

                                                       3           The parties certify that all discovery can be completed informally, without the need of court

                                                       4   intervention and in conformance with the Standard Discovery Plan, and that the matter will be ready

                                                       5   for trial within 120 days, or

                                                       6            X      A discovery plan is needed or useful in this case.

                                                       7                   ____    The parties agree to the standard discovery plan. Defendants answered or

                                                       8           otherwise appeared on September 22, 2022. Discovery shall be completed within 180 days,

                                                       9           measured from the date the Defendants answered or otherwise appeared.

                                                      10                   X       The parties jointly propose to the Court the attached discovery plan and

                                                      11           scheduling order.
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                                                      12                   ___     The parties cannot agree on a discovery plan and scheduling order.
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                                                      13   2.      Nature of the Case: Brief description of the nature of the case.

                                                      14           This is an adversary proceeding by HASelect against Defendants to recover HASelect’s

                                                      15   Collateral and all property in which it has a security interest, in addition to HASelect’s recovery of

                                                      16   claims abandoned to it by the bankruptcy trustee, including, but not limited to, recovery of

                                                      17   shareholder loans and misappropriated proceeds and advances of HASelect’s loan to Debtor Infinity

                                                      18   Capital Management, Inc.

                                                      19   3.      Jury Trials: Check one:

                                                      20             X     A demand for a jury trial has not been made.

                                                      21                   A demand for a jury trial has been made.

                                                      22           ____    It is expressly understood by the undersigned parties they have demanded a jury trial

                                                      23   pursuant to Fed. R. Civ. P. 38(b), and in conformity with LR 9015, and have consented to a jury trial

                                                      24   pursuant to 28 U.S.C. § 157(e).

                                                      25           An original and two (2) copies of all instructions requested by either party shall be submitted

                                                      26   to the clerk for filing on or before: _________________________.

                                                      27           An original and two (2) copies of all suggested questions of the parties to be asked of the

                                                      28

                                                                                                         Page 2 of 4
                                                            Case 22-01109-abl       Doc 24     Entered 10/10/22 14:50:02         Page 3 of 7




                                                       1   jury panel by the court on voir dire shall be submitted to the clerk for filing on or before:

                                                       2   __________________.

                                                       3   4.     Additional Pleadings: Are there any counterclaims, cross claims or amendments to

                                                       4   pleadings expected to be filed?

                                                       5                  Yes

                                                       6             X    No

                                                       7   5.     Settlement Conference: Check One:

                                                       8                  A settlement conference is requested.

                                                       9           X      Settlement cannot be evaluated prior to additional discovery, the Parties may later

                                                      10   request a settlement conference.

                                                      11   6.     Trial: Plaintiffs contend that the case should be ready for trial by August 18, 2023 and
              1731 Village Center Circle, Suite 150




                                                      12   should take no more than five (5) days.
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SHEA LARSEN

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                                                      13   7.     All parties X consent to this court entering final judgment.

                                                      14    DATED this 10th day of October 2022.             DATED this 10th day of October 2022.

                                                      15    SHEA LARSEN                                      LEWIS ROCA ROTHGERBER CHRISTIE LLP

                                                      16    /s/ Bart K. Larsen, Esq.                         /s/ Ogonna Brown, Esq.
                                                            Bart K. Larsen, Esq.                             Ogonna Brown, Esq.
                                                      17    Nevada Bar No. 8538                              Nevada Bar No. 7589
                                                            Kyle M. Wyant, Esq.
                                                      18    Nevada Bar No. 14652                             Eckley Keach III, Esq.
                                                            1731 Village Center Circle, Suite 150            Nevada Bar No. 14727
                                                      19    Las Vegas, Nevada 89134                          3993 Howard Hughes Parkway, Suite 600
                                                                                                             Las Vegas, Nevada 89169
                                                      20    Attorneys for HASelect-Medical
                                                            Receivables Litigation Finance Fund              Attorneys for Defendants Anne Pantelas, Oliver
                                                      21    International SP                                 Hemmers, and Infinity Health Solutions LLC
                                                      22

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                                                           Case 22-01109-abl       Doc 24   Entered 10/10/22 14:50:02         Page 4 of 7




                                                       1                                  CERTIFICATE OF SERVICE

                                                       2       1.     On October 10, 2022, I served the following document(s): DISCOVERY PLAN
                                                                      AND SCHEDULING ORDER
                                                       3
                                                               2.     I served the above document(s) by the following means to the persons as listed
                                                       4              below:
                                                       5              ☒       a.      ECF System:
                                                       6                              Ogonna Brown, Esq.
                                                                                      3993 Howard Hughes Parkway, Suite 600
                                                       7                              Las Vegas, Nevada 89169
                                                                                      obrown@lewisroca.com
                                                       8                              Counsel for Defendants Anne Pantelas, Oliver Hemmers, and
                                                                                      Infinity Health Solutions, LLC
                                                       9
                                                                      ☐       b.      United States mail, postage fully prepaid:
                                                      10
                                                                      ☐       c.      Personal Service:
                                                      11
              1731 Village Center Circle, Suite 150




                                                                      I personally delivered the document(s) to the persons at these addresses:
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                      ☐       For a party represented by an attorney, delivery was made by
                        (702) 471-7432




                                                      13              handing the document(s) at the attorney’s office with a clerk or other person in
                                                                      charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      14              in the office.
                                                      15                              ☐       For a party, delivery was made by handling the document(s)
                                                                      to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                      16              place of abode with someone of suitable age and discretion residing there.
                                                      17              ☐       d.      By direct email (as opposed to through the ECF System):
                                                      18
                                                                      ☐       e.      By fax transmission:
                                                      19
                                                                      Based upon the written agreement of the parties to accept service by fax
                                                      20              transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                      numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      21              of the record of the fax transmission is attached.
                                                      22       ☐      f.      By messenger:
                                                      23              I served the document(s) by placing them in an envelope or package addressed to
                                                                      the persons at the addresses listed below and providing them to a messenger for
                                                      24              service.
                                                      25       I declare under penalty of perjury that the foregoing is true and correct.
                                                      26       Dated: October 10, 2022.
                                                      27                                             By: /s/ Bart K. Larsen, Esq,
                                                      28

                                                                                                    Page 4 of 4
                                                               Case 22-01109-abl            Doc 24       Entered 10/10/22 14:50:02          Page 5 of 7



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                                                       7   Attorneys for HASelect-Medical Receivables
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                                                           In re:
                                                      11                                                                          Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                                      Chapter 7
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                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,                                                      Adversary Case No.: 22-01109-abl
                                                      16                                 Plaintiff,
                                                      17   v.
                                                      18   ANNE PANTELAS; OLIVER HEMMERS; and
                                                           INFINITY HEALTH SOLUTIONS LLC,
                                                      19
                                                                                        Defendants.
                                                      20

                                                      21                             REPORT OF THE PARTIES’ PLANNING MEETING
                                                      22              Pursuant to Fed. R. Civ. P. 26(f), made applicable to this proceeding by Fed. R. Bankr. P.
                                                      23   7026, Plaintiff HASelect-Medical Receivables Litigation Finance Fund International SP (“Plaintiff”
                                                      24   or “HASelect”), by and through its counsel, Shea Larsen PC, and Defendants Anne Pantelas
                                                      25   (“Pantelas”), Oliver Hemmers (“Hemmers”), and Infinity Health Solutions LLC (“Infinity” and
                                                      26   collectively with Pantelas and Hemmers, “Defendants”),1 by and through its counsel, Lewis Roca
                                                      27   Rothgerber Christie LLP, hereby submits this Report of Parties’ Planning Meeting and agree as
                                                      28
                                                           1
                                                               Defendants and Plaintiff may also be referred to as the “Parties” herein.


                                                                                                                   Page 1 of 3
                                                            Case 22-01109-abl         Doc 24     Entered 10/10/22 14:50:02         Page 6 of 7




                                                       1   follows based on the meeting of the Parties, which took place on October 3, 2022:

                                                       2   1.      Pre-discovery Disclosures. HASelect exchanged initial disclosures and the information

                                                       3   required by Fed. R. Bankr. P. 7026(a)(1) on October 5, 2022. Defendants intend to exchange their

                                                       4   initial disclosures and the information required by Fed. R. Bankr. P. 7026(a)(1) by October 17,

                                                       5   2022.

                                                       6   2.      Discovery Plan.

                                                       7                   a.      Discovery will be needed on the claims asserted by Plaintiff and the

                                                       8   affirmative defenses asserted by Defendants.

                                                       9                   b.      All fact discovery will be completed by April 6, 2023.

                                                      10                   c.      Reports from retained experts of either party under Fed. R. Bankr. P.

                                                      11   7026(a)(2) are due on or before May 5, 2023, and reports of rebuttal experts shall be due thirty
              1731 Village Center Circle, Suite 150




                                                      12   days after receipt of the initial report. All expert depositions shall be completed by June 16, 2023.
                   Las Vegas, Nevada 89134
SHEA LARSEN

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                                                      13   3.      Other items.

                                                      14                   a.      A Scheduling Conference is currently set for October 11, 2022 at 10:00 a.m.

                                                      15                   b.      The Parties should be allowed until December 9, 2022 to file a motion to

                                                      16   join additional parties and amend their pleadings.

                                                      17                   c.      All potentially dispositive motions should be filed on or before June 30,

                                                      18   2022.

                                                      19                   d.      Final lists of witnesses and exhibits under Fed. R. Bankr. P. 7026(a)(3) are

                                                      20   due sixty days prior to trial.

                                                      21                   e.      Parties shall file objections to final witness and exhibit lists served pursuant

                                                      22   to Fed. R. Bankr. P. 7026(a)(3) forty-five days before trial with responses due no later than thirty

                                                      23   days before trial.

                                                      24                   f.      Motions in limine shall be filed no later than forty-five days before trial.

                                                      25                   g.      All other deadlines not set forth herein shall be governed by the Local Rules.

                                                      26                   h.      The Parties will be ready for trial by August 18, 2023. At this time, trial is

                                                      27   expected to take five (5) days.

                                                      28

                                                                                                         Page 2 of 3
                                                            Case 22-01109-abl        Doc 24     Entered 10/10/22 14:50:02         Page 7 of 7




                                                       1                  i.      The Parties may stipulate to amend any of the dates herein, but the

                                                       2   stipulation will not be effective until entry of an order approving such stipulation.

                                                       3    DATED this 10th day of October 2022.              DATED this 10th day of October 2022.

                                                       4    SHEA LARSEN                                       LEWIS ROCA ROTHGERBER CHRISTIE LLP

                                                       5    /s/ Bart K. Larsen, Esq.                          /s/ Ogonna Brown, Esq.
                                                            Bart K. Larsen, Esq.                              Ogonna Brown, Esq.
                                                       6    Nevada Bar No. 8538                               Nevada Bar No. 7589
                                                            Kyle M. Wyant, Esq.
                                                       7    Nevada Bar No. 14652                              Eckley Keach III, Esq.
                                                            1731 Village Center Circle, Suite 150             Nevada Bar No. 14727
                                                       8    Las Vegas, Nevada 89134                           3993 Howard Hughes Parkway, Suite 600
                                                                                                              Las Vegas, Nevada 89169
                                                       9    Attorneys for HASelect-Medical
                                                            Receivables Litigation Finance Fund               Attorneys for Defendants Anne Pantelas, Oliver
                                                      10    International SP                                  Hemmers, and Infinity Health Solutions LLC
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